
974 So.2d 1279 (2008)
In re Attlah Deniece BURRELL.
No. 2008-B-0327.
Supreme Court of Louisiana.
February 20, 2008.


*1280 ORDER
Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel, and the response thereto filed by respondent,
IT IS ORDERED that respondent, Attlah Deniece Burrell, Louisiana Bar Roll number 24764, be and she hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
/s/ Pascal F. Calogero, Jr.
Justice, Supreme Court of Louisiana
KNOLL, J., recused.
